      Case 3:14-cr-00403-MHT-SRW Document 312 Filed 03/12/15 Page 1 of 6




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

           MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                        )
                                                )         CRIMINAL ACTION NO.
      v.                                        )            3:14cr403-MHT
                                                )                 (WO)
JAMES RICHARD LAWLOR                            )


                                        ORDER

       Defendant James Richard Lawlor is now before the

court          for    sentencing        for         one    count    of     obtaining

oxycodone by fraud and deception, in violation of 21

U.S.C. § 843(a)(3).                 As part of this process, Lawlor

has stated that his untreated bipolar disorder, drug

addiction,            and    attempts      to   cope       with    recurring    pain

from       a    car    accident,      which          deepened      his    addiction,

contributed to his past criminal activity and the crime

that brings Lawlor before the court today.                               All parties

and    probation            agree   that    these         issues    merit    further

consideration.                  The      court            therefore       orders   a

‘presentence study’ on Lawlor’s condition pursuant to
      Case 3:14-cr-00403-MHT-SRW Document 312 Filed 03/12/15 Page 2 of 6




18 U.S.C. § 3552(b) for the purpose of assisting the

court in fashioning an appropriate sentence.

       “Although district courts are no longer bound to

follow the Sentencing Guidelines after United States v.

Booker, 543 U.S. 220 (2005), they still must consult

the     Guidelines       and    take     them    into     account       when

sentencing defendants.”             United States v. Todd, 618 F.

Supp. 2d 1349, 1352-53 (M.D. Ala. 2009) (Thompson, J.).

The     court     must    calculate      the    applicable      range       of

sentences recommended by the Guidelines.                  The court may

then     decide     to    impose    a    sentence     outside     of       the

Guidelines system, commonly known as a “variance.”

       The court is bound, however, to impose a sentence

that is reasonable.            The factors set forth in 18 U.S.C.

§ 3553(a)       guide     the    court’s       determination      of       the

reasonableness of a sentence.                  Those factors are (1)

the nature and circumstances of the offense; (2) the

history and characteristics of the defendant; (3) the

need for the sentence imposed to punish the offender,

protect the public from the defendant, rehabilitate the
                           2
   Case 3:14-cr-00403-MHT-SRW Document 312 Filed 03/12/15 Page 3 of 6




defendant, deter others, and provide medical care; (4)

the kinds of sentences available; (5) the sentencing

range established by the Sentencing Guidelines; (6) any

pertinent policy statements issued by the Sentencing

Commission; (7) the need to avoid unwarranted sentence

disparities among defendants with similar records who

have been found guilty of similar conduct; and (8) the

need for restitution.           18 U.S.C. § 3553(a).

       U.S.        Probation      officers          routinely        prepare

presentence investigation reports to assist the court

during    sentencing       pursuant      to    18   U.S.C.     §    3552(a).

However, § 3552(b) also authorizes the court to order a

“study        of    the   defendant”          if    it   “desires       more

information        than   is    otherwise      available     to    it   as   a

basis for determining the sentence to be imposed.”                           18

U.S.C. § 3552(b).          The court here desires a report on

how Lawlor’s untreated bipolar disorder, addiction to

pain killers, and attempts to cope with the recurring

pain     from       his   car    accident,         including       increased


                                     3
   Case 3:14-cr-00403-MHT-SRW Document 312 Filed 03/12/15 Page 4 of 6




reliance on pain medication, impact any of the eight

sentencing factors listed above.

       While,    ordinarily,        a     § 3552(b)        study      “shall      be

conducted        in        the    local        community        by     qualified

consultants,” the statute also authorizes the court to

order that the study be done by the Bureau of Prisons

upon the finding of “a compelling reason.”                             18 U.S.C.

§ 3552(b).       In this case, the court finds that Lawlor’s

past     inability           or     failure           to     attend         medical

appointments          as     well   as        the     need      for    sustained

treatment       and    observation        are        compelling       reasons     to

order    that    the       § 3552(b)      study       be   conducted        by   the

Bureau of Prisons.

                                        ***

                Accordingly, it is ORDERED as follows:

       (1) The Attorney General should find a placement

for defendant James Richard Lawlor for a presentence

study,    as     set        forth   in        this     order.         The     court

recommends that he be placed as close as possible to

Huntsville, Alabama.
                                          4
      Case 3:14-cr-00403-MHT-SRW Document 312 Filed 03/12/15 Page 5 of 6




       (2) Defendant Lawlor is to self-surrender to the

facility identified by the Attorney General on the date

decided by the Attorney General. Once the evaluation is

complete, he will be released under the same conditions

that he arrived at the facility--that is, he will be

responsible for his own return transportation.

       (3) Defendant Lawlor will be responsible for the

cost of transportation to and from the facility.

       (4) Defendant Lawlor will be examined for a period

not     to   exceed     60    days.       The     court    also      has   the

discretion         to   extend     this    period        for    up    to    an

additional 60 days.

       (5) The      medical    personnel     of    the    facility     shall

evaluate defendant Lawlor’s physical and psychological

condition and prepare a report to be presented to this

court.       In particular, the report shall address:

             A.     How defendant Lawlor’s untreated bipolar

disorder, his drug addiction, and his attempts to cope

with      the     recurring      pain     from     his    car     accident,

including         possible    increased     addiction,         impacts     the
                                    5
      Case 3:14-cr-00403-MHT-SRW Document 312 Filed 03/12/15 Page 6 of 6




sentencing factors set forth in 18 U.S.C. § 3553(a);

and

             B.     Any other matters the Bureau of Prisons

believes are pertinent to the factors set forth in 18

U.S.C. § 3553(a).

       DONE, this the 12th day of March, 2015.

                                         /s/ Myron H. Thompson___
                                      UNITED STATES DISTRICT JUDGE
